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     ‭ ow & Low, LLC‬
     L
     ‭Russell L. Low, Esq.­4745‬
      ‭Attorney at Law‬
       ‭505 Main Street, Suite 304‬                                      Order Filed on December 20, 2024
                                                                         by Clerk
        ‭Hackensack, New Jersey 07601‬                                   U.S. Bankruptcy Court
         ‭Office (201)­343­-4040‬                                        District of New Jersey
          ‭Fax (201)­488-­5788‬
           ‭Attorney for Debtor‬
     ‭_______________________________________________________________‬

                    ‭IN THE UNITED STATES BANKRUPTCY COURT‬
                          ‭FOR THE DISTRICT OF NEW JERSEY‬


     ‭Ivan Regalado‬                       ‭:‬   ‭HONORABLE ROSEMARY GAMBARDELLA‬

                                           ‭:‬   ‭CHAPTER 13‬

     ‭Debtor (s)‬                          ‭:‬   ‭Case No. 23-19295‬

                                        :‭‬   ‭Hearing: December 18, 2024 at 10:00 a.m‬
     ‭______________________________________________________________________________‬
            ‭Revised Order Resolving Secured Creitor’s Objection to Loss Mitigation Period‬
      ‭______________________________________________________________________________‬



             ‭The relief set forth on the following pages numbered‬‭two (2) is hereby ORDERED.‬




DATED: December 20, 2024
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I‭ van Regalado‬
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  ‭Case No.‬ ‭23-19295-RG‬
   ‭______________________________________________________________________________‬

‭A Notice of Request for Loss Mitigation was filed by the debtor on‬‭12/20/24‬

‭Property:‬‭1518 73rd Street, 1st Floor North Bergen, NJ 07047‬

‭Creditor:‬‭Midfirst Bank‬

‭and a Request for‬

‭⌧ It is hereby ORDERED that the Notice of Request for Loss Mitigation is granted, and:‬

    ‭●‬ ‭The debtor and creditor listed above are directed to participate in Loss Mitigation and are‬

        ‭bound by the court’s Loss Mitigation Program and Procedures (LMP).‬

    ‭●‬ ‭The Loss Mitigation process shall terminate on‬‭01/31/25‬‭(90 days from the date of entry‬

        ‭of this order, unless an Application for Extension or Early Termination of the Loss‬

        ‭Mitigation Period is filed under Section IX.B of the LMP.)‬

    ‭●‬ ‭The debtor must make monthly adequate protection payments to the creditor during the‬

        ‭Loss Mitigation Period in the amount of‬‭$2,299.70‬‭on the due date set forth in the note,‬

        ‭including any grace period. See Section VII.B. of the LMP.‬

    ‭●‬ ‭If a relief from stay motion pursuant to section 362(d) is pending upon entry of this Order‬

        ‭or if such a motion is filed during the loss mitigation period, the court may condition the‬

        ‭stay upon compliance by the debtor with the fulfillment of the debtor’s obligations under‬

        ‭the Loss Mitigation Order. If the debtor fails to comply with the loss mitigation process‬

        ‭and this Order, the creditor may apply to terminate the Order as specified in Section‬

        ‭IX.B. of the LMP and to obtain relief from the stay.‬
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   ‭●‬ ‭Extension or early termination of the LMP may be requested as specified in Section IX.B‬

       ‭of the LMP.‬

   ‭●‬ ‭If this case is dismissed during the loss mitigation period, loss mitigation is terminated‬

       ‭effective on the date of the order of dismissal.‬

‭⌧ It is ORDERED that parties shall utilize the Loss Mitigation Portal during the Loss‬

‭Mitigation Period, and it is further ORDERED that:‬

   ‭●‬ ‭Within 14 days of the date of this order, the creditor shall ensure that it is‬

       ‭registered on the loss mitigation portal and that all of its initial loss mitigation‬

       ‭document requirements are available on the portal.‬

   ‭●‬ ‭Within 35 days of the date of this order, the debtor shall upload and submit‬

       ‭through the loss mitigation portal a completed Creditor’s Initial Package.‬

   ‭●‬ ‭Within 14 days of the debtor’s submission of the Creditor’s Initial Package, the‬

       ‭creditor shall acknowledge receipt of same and designate the single point of‬

       ‭contact for debtor’s review.‬
